                  EXHIBIT A




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                           IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE SOUTHERN DISTRICT OF TEXAS

                                           HOUSTON DIVISION

    In re                                                Chapter 11

    Refreshing USA, LLC,                                 Case No. 24-33919 (ARP)
                                                         (Jointly Administered)
                                     1
                             Debtors .


    DECLARATION OF BRIAN WEISS IN SUPPORT OF DEBTORS’ MOTION FOR AN
      ORDER ESTABLISHING PROCEDURES FOR SALE OR ABANDONMENT OF
                      ASSETS OF DE MINIMIS VALUE
            I, Brian Weiss, being duly sworn, state the following under penalty of perjury:

            1.       I submit this declaration (the “Declaration”) in support of Debtors’ Motion for an

Order Establishing Procedures for Sale or Abandonment of Assets of De Minimis Value (the
                 2
“Motion”). Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

            2.       I am a partner of Force Ten Partners, LLC (“Force 10”). I have approximately 24

years of experience providing financial advisory, restructuring and turnaround services and have

advised companies across a diverse range of industries. I assist clients both inside and outside of

chapter 11 in addressing a variety of financial, operational, liquidity, and leverage issues.



1
 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.
2
 Capitalized terms that are not defined in this declaration have the meaning ascribed to them in
the Motion.



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Recently, I have served as the CRO in Carbonlite Industries, Breckenridge Food Systems, Star

Ribs, LLC, CIR Restaurant Holdings Group, Inc., Desert Restaurant Ventures, Mancha

Development Corp., and Thomas Management, Inc. and as financial advisor in Rubio’s

Restaurants, Alpha Guardian, and Sugarfina, Inc. I have further served as the CRO and financial

advisor in a variety of out-of-court restructurings. In 2022, I received an award and was named a

“Top 25” restructuring consultant with a distinction in dealmaking by Global M&A Network.

       3.      On October 14, 2024 (“Retention Date”), Force 10 was engaged by Debtors to

provide me as Debtors’ CRO and with Restructuring Advisor Personnel, as necessary, to provide

certain advisory services in connection with Debtors’ ongoing evaluation, development, and

implementation of strategic alternatives to address their assets, financial performance, and to

analyze the prospects of a reorganization.

       4.      Since the Retention Date and even before, I and Force 10 have devoted and

continue to devote substantial time and effort to prosecuting these cases, managing Debtors’

business operations, preparing chapter 11 bankruptcy compliance documents, corresponding

with various stakeholders, developing strategies for the chapter 11 cases to attempt to maximize

value to the estates and for creditors, and managing Debtors’ restructuring professionals.

       5.      Debtors seek court approval to continue their ongoing efforts to market and sell

certain property, including equipment, vehicles, inventory, and other assets, related to the

Debtors’ commercial vending machine and water station business as well as certain other related

assets. The Debtors are also lessees of certain real property owned by former affiliate Ideal.

Ideal is in the process of selling through a court supervised process almost two dozen

commercial properties and requires Debtors to remove their personal property from those

properties (and resolve lease rejection damages claims). Accordingly, the Debtors are currently




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in possession of certain De Minimis Assets that are not, or soon will not be, needed by the

Debtors for their future operations.

        6.      Given the De Minimis Assets’ limited value in relation to the Debtors’ overall

operations and assets, the Debtors submit that selling the De Minimis Assets through efficient

procedures will reduce costs and other administrative expenses that would otherwise be incurred

by selling such assets by separate motions. Therefore, the Debtors seek approval of procedures

that will authorize, to the extent necessary, the Debtors to sell certain assets outside the ordinary

course of business with a transaction value equal to or less than $300,000. In addition, the

Debtors seek approval of procedures that would govern the abandonment of certain assets of

little or no use to the Debtors’ estates.

        7.      In certain circumstances, the Debtors have a limited window of time in which

they may enter into or take advantage of opportunities to sell or otherwise monetize De Minimis

Assets. The cost, delay, and publicity associated with seeking individual Court approval of each

De Minimis Asset Transaction could eliminate or substantially diminish the economic benefits of

the transactions. Thus, the Debtors propose the De Minimis Asset Sale Procedures and the De

Minimis Asset Abandonment Procedures to permit the Debtors to dispose of De Minimis Assets

in a cost-efficient manner and to allow more expeditious and cost-effective review of certain De

Minimis Asset Transactions by interested parties, while at the same time protecting the rights of

creditors and other parties in interest.

        8.      The Debtors propose to sell the De Minimis Assets on the best terms available,

taking into consideration the exigencies and circumstances in each such transaction under the De

Minimis Asset Sale Procedures. It is in my business judgment that selling assets under those

procedures is in the best interest of Debtors’ estates, their creditors, and other parties in interest.




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        9.      To the extent that De Minimis Assets cannot be sold at a price greater than the

cost of liquidating such asset that is no longer needed for the Debtors’ operations, the Debtors

seek authority to abandon De Minimis Assets in accordance with the De Minimis Asset

Abandonment Procedures. It is in my business judgment that abandoning valueless assets under

those procedures is in the best interest of Debtors’ estates, their creditors, and other parties in

interest.

        10.      The De Minimis Asset procedures will promote an efficient administration of

these chapter 11 cases, make De Minimis Asset Transactions cost effective, and expedite the sale

of more valuable assets in a manner that will provide the most benefit to the Debtors’ estates and

creditors.

        I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE

BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THEY ARE

MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.

        Dated: November 1, 2024.
                                                    /s/ Brian Weiss
                                                   Brian Weiss



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